        Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 1 of 31
                                                                      1

 1                     UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF DELAWARE
 2

 3   IN RE:                    .       Chapter 11
                               .       Case No. 23-11120 (BLS)
 4   PROTERRA, INC., et al.,   .
                               .       (Jointly Administered)
 5                             .
                               .       Courtroom No. 1
 6                             .       824 Market Street
              Debtors.         .       Wilmington, Delaware 19801
 7                             .
                               .       Tuesday, January 23, 2024
 8   . . . . . . . . . . . . . .       11:04 p.m.

 9                         TRANSCRIPT OF HEARING
                 BEFORE THE HONORABLE BRENDAN L. SHANNON
10                    UNITED STATES BANKRUPTCY JUDGE

11   APPEARANCES:

12   For the Debtors:            Michael J. Colarossi, Esquire
                                 PAUL, WEISS, RIFKIND, WHARTON
13                                 & GARRISON, LLP
                                 1285 Avenue of the Americas
14                               New York, New York 10019

15   For the U.S. Trustee:       Linda J. Casey, Esquire
                                 UNITED STATES DEPARTMENT OF JUSTICE
16                               OFFICE OF THE UNITED STATES TRUSTEE
                                 J. Caleb Boggs Federal Building
17                               844 King Street
                                 Suite 2207, Lockbox 35
18                               Wilmington, Delaware 19801

19   (APPEARANCES CONTINUED)

20   Audio Operator:             Dana L. Moore, ECRO

21   Transcription Company:      Reliable
                                 The Nemours Building
22                               1007 N. Orange Street, Suite 110
                                 Wilmington, Delaware 19801
23                               Telephone: (302)654-8080
                                 Email: gmatthews@reliable-co.com
24
     Proceedings recorded by electronic sound recording,
25   transcript produced by transcription service.
        Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 2 of 31
                                                                      2

 1   APPEARANCES (CONTINUED):

 2   For Cyress Jam,
     individually and on
 3   behalf of the
     securities litigation
 4   class:                      Michael J. Joyce, Esquire
                                 THE LAW OFFICES OF JOYCE, LLC
 5                               1225 King Street
                                 Suite 800
 6                               Wilmington, Delaware 19801

 7                               -and-

 8                               Adam M. Apton, Esquire
                                 LEVI & KORSINSKY, LLP
 9                               33 Whitehall Street
                                 17th Floor
10                               New York, New York 10004

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
        Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 3 of 31
                                                                      3

 1                                    INDEX

 2   MOTIONS:                                                         PAGE

 3   Agenda
     Item 2:    Debtors’ Motion for Entry of an Order (A)                  5
 4              Approving the Adequacy of the Disclosure
                Statement; (B) Approving the Solicitation and
 5              Notice Procedures With Respect to Confirmation
                of the Debtors' Joint Chapter 11 Plan of
 6              Reorganization; (C) Approving the Forms of
                Ballots and Notices in Connection Therewith;
 7              (D) Scheduling Certain Dates With Respect
                Thereto; and (E) Granting Related Relief [D.I.
 8              793, 1/2/24]

 9
                Court's Ruling:                                           24
10

11   Transcriptionist’s Certificate                                       31

12

13

14

15

16

17

18

19

20

21

22

23

24

25
        Case 23-11120-BLS   Doc 953     Filed 01/29/24    Page 4 of 31
                                                                          4

 1            (Proceedings commenced at 11:04 a.m.)

 2                 THE CLERK:   All rise.

 3                 THE COURT:   Please be seated.

 4                 Good morning, are you ready to proceed?

 5                 MR. COLAROSSI:     Yes, Your Honor.

 6                 Michael Colarossi, Paul Weiss, on behalf of the

 7   debtors.

 8                 So if it's all right, I'd like to start with some

 9   general updates --

10                 THE COURT:   Sure.

11                 MR. COLAROSSI:     -- on the developments in the

12   cases?

13                 So the debtors have made substantial progress in

14   these Chapter 11 cases in cooperation with the second lien

15   lenders, UCC, and other stakeholders.               The sale of Proterra

16   Transit closed On January 11th, 2024, as we noticed on the

17   docket, and the parties continue to work towards closing the

18   sale of Proterra Powered, which is anticipated to close on

19   February 1st.

20                 THE COURT:   Very good.

21                 MR. COLAROSSI:     The outside date to the sale of

22   the battery leases to Phoenix is today.              We have also been

23   negotiating an APA with the backup bidder and if there's any

24   issues with closing the battery lease sale to Phoenix, we may

25   file a motion to seek Your Honor's approval to consummate
        Case 23-11120-BLS   Doc 953    Filed 01/29/24    Page 5 of 31
                                                                         5

 1   that backup bid on shortened notice.

 2               THE COURT:    Okay.     I'll be here.

 3               MR. COLAROSSI:       Great, Your Honor.

 4               And then, finally, as Your Honor knows, a global

 5   settlement was reached with the second lien lenders and the

 6   UCC, as reflected in the amended and restated PSA we filed

 7   and embodied in the plan.

 8               THE COURT:    I saw it.

 9               MR. COLAROSSI:       All right.        With that, Your Honor,

10   I'll cover a couple of updates with respect to the disclosure

11   statement motion itself.

12               THE COURT:    That'd be great.

13               MR. COLAROSSI:       So as I'm sure Your Honor saw, we

14   filed amended versions of the plan and disclosure statement,

15   as well as a proposed disclosure statement order,

16   incorporating certain comments received from the objecting

17   parties.   Among other changes highlighted in the redlines we

18   filed on the dockets, we added language highlighting the

19   plan's third-party release provisions and related definitions

20   and opt-out procedures, the various notices to be sent to

21   non-voting classes.

22               We added information on the debtors' post-petition

23   marketing process, the amended and restated PSA, and

24   liquidation payment settlement to notices to be sent to

25   registered shareholders and beneficial owners of shares.
        Case 23-11120-BLS   Doc 953     Filed 01/29/24   Page 6 of 31
                                                                              6

 1                 We also revised the plan's definitions -- release

 2   provisions to include releases to exclude -- excuse me, Your

 3   Honor -- exclude the releases of claims for actual fraud,

 4   gross negligence, and willful misconduct.

 5                 We also revised the definition of releasing party

 6   and released party to ex accumulate Mr. Jam in his individual

 7   capacity, in light of his desire to opt out of the releases

 8   as set forth in his objection, and we added to the

 9   definitions of releasing party and released party, or we

10   added those definitions to the body of the disclosure

11   statement, as well as a notice highlighting that the

12   identities of all released parties will not be known prior to

13   the opt-out deadline, given that our releases are mutual.

14                 THE COURT:   Okay.

15                 MR. COLAROSSI:     And then, finally, Your Honor, we

16   incorporated certain commentary provided by counsel to Mr.

17   Jam regarding the Security class action and the releases into

18   the body of the disclosure statement.

19                 THE COURT:   Okay.

20                 MR. COLAROSSI:     So, with respect to the disclosure

21   statement, Your Honor, five objections were filed.                 The

22   debtors worked cooperatively with each of the objecting

23   parties in an effort to consensually resolve their concerns

24   and narrow the scope of any issues that need to be decided by

25   Your Honor.
        Case 23-11120-BLS   Doc 953    Filed 01/29/24   Page 7 of 31
                                                                         7

 1               I'm pleased to report that we were able to fully

 2   resolve three of the objections on a consensual basis,

 3   including through changes reflected in the amended plan and

 4   disclosure statement that I've discussed.

 5               THE COURT:    Which of the objections have been

 6   resolved?

 7               MR. COLAROSSI:       The objection -- all of the

 8   objections, other than Mr. Jam's and the U.S. Trustee's

 9   objection, so that includes SEPTA's objection and the two

10   surety bond providers, Philadelphia and (indiscernible).

11               THE COURT:    Okay.

12               MR. COLAROSSI:       Your Honor, to resolve SEPTA's

13   objection, we've confirmed to SEPTA that the debtors intend

14   to reject these contracts and we've agreed to read into the

15   record, a statement regarding the inclusion of SEPTA's

16   asserted claim amount into the recovery analyses set forth in

17   the disclosure statement.        It's all right with Your Honor,

18   I'll do that now?

19               THE COURT:    Okay.

20               MR. COLAROSSI:       The debtors included the

21   approximate amount of SEPTA's filed proof of claim,

22   approximately $23 million in the high end of the estimated

23   range of general unsecured claims used for the recovery

24   analyses set forth in the disclosure statement.              The high end

25   of that estimated range is approximately $260 million, which
        Case 23-11120-BLS   Doc 953    Filed 01/29/24    Page 8 of 31
                                                                            8

 1   reflects an estimate encompassing the gross amount of filed

 2   claims, excluding any prospective claims not yet filed, such

 3   as rejection damages claims.

 4              These figures were estimates at the time of the

 5   analysis and are subject to material change.               The debtors

 6   reserve any and all rights to dispute SEPTA's and any other

 7   party's proof of claim amount.

 8              THE COURT:     Very good.

 9              MR. COLAROSSI:        All right.        So turning to the

10   remaining two objections, those of the U.S. Trustee and

11   Mr. Jam, while I understand that our amended filings

12   partially resolved those objections and I went through the

13   key changes, there remains certain unresolved points, which

14   we addressed in our reply.       Since filing the reply, we've

15   continued to work cooperatively with the objecting parties

16   and we've reached agreement on two other changes that help to

17   resolve additional points with the U.S. Trustee.

18              To address the U.S. Trustee's objection that the

19   shareholder notices contain confusing legalese, we've agreed

20   to add simple, straightforward -- a simple, straightforward

21   statement to the beginning of certain of the notices being

22   sent to the various stakeholders, stating, in simple terms,

23   that the recipient of the notice will be deemed to grant the

24   third-party releases if they do not opt out or object to the

25   plan as equitable.
        Case 23-11120-BLS   Doc 953    Filed 01/29/24   Page 9 of 31
                                                                       9

 1              Second, to resolve the U.S. Trustee concern

 2   regarding the definition of releasing party, including

 3   certain categories of related persons, we've agreed to revise

 4   the definition to provide for the main categories of

 5   releasing parties set forth in the definition are only

 6   granting releases on behalf of their related persons, to the

 7   extent they have the ability to do so under applicable law.

 8              THE COURT:     All right.       I understand.

 9              MR. COLAROSSI:        Thank you, Your Honor.

10              And if those changes are acceptable to Your Honor,

11   we'll reflect them in a revised proposed order and the

12   solicitation versions of the plan and disclosure statement.

13              THE COURT:     Very good.

14              MR. COLAROSSI:        So, with that, I'll move on to our

15   case in chief on the disclosure statements.

16              THE COURT:     Okay.

17              MR. COLAROSSI:        As Your Honor knows, to solicit

18   votes on the plan, Section 1125 of the Bankruptcy Code

19   requires the disclosure statement contain adequate

20   information for hypothetical investors in the voting classes

21   to make an informed decision with respect to the plan.            The

22   disclosure statement contains extensive information about the

23   debtors' background, capital structure, and business

24   operations, key events leading to the Chapter 11 cases, key

25   terms of the plan and estimated recoveries, analysis of
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 10 of 31
                                                                      10

 1   recoveries in a hypothetical Chapter 7 liquidation, certain

 2   risk factors, securities disclosures, and potential tax

 3   consequences related to the plan, and recommendations from

 4   the debtors and the UCC that voting classes should vote to

 5   accept the plan.

 6              In addition, as I so noted earlier, the latest

 7   amended disclosure statement included additional information

 8   to address concerns raised by the objecting parties,

 9   including to incorporate commentary provided by Mr. Jam's

10   counsel.

11              We respectfully submit that the disclosure

12   statement, therefore, satisfies Section 1125's adequate

13   information requirement and the disclosure statement motion

14   should, therefore, be approved.

15              With respect to the remaining disclosure statement

16   objections, the U.S. Trustee and Mr. Jam assert various

17   arguments, contending that the disclosure statement motion

18   should not be approved unless the third-party release

19   provisions are severed from the plan at least respect to

20   shareholders.   I'll note that neither of these objecting

21   parties are releasing parties under the plan and also that

22   their arguments fail for several reasons.           First and

23   foremost, they are premature in that, by asserting issues

24   that are properly reserved for confirmation.

25              Courts have consistently held that challenges to a
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 11 of 31
                                                                      11

 1   plan itself, including its release provisions, should

 2   generally be addressed at the confirmation hearing after

 3   voting creditors have been informed about the proposed plan,

 4   a vote has been undertaken and there's an opportunity to

 5   develop a full, factual record.

 6              While there is a limited exception for disclosure

 7   statements describing patently unconfirmable plans, that

 8   exception does not apply where the plan can be confirmed on

 9   development of the factual record.         Here, the plan is

10   consistent with substantial precedent from this and other

11   districts and it's certainly confirmable, thus, the remaining

12   objection's arguments regarding the validity of the third-

13   party releases need not be decided until the confirmation

14   hearing, at which time the debtors will demonstrate that the

15   releases are consensual and should be approved.

16              THE COURT:    Okay.

17              MR. COLAROSSI:       Second, Your Honor, the plan

18   contains an intentionally drafted opt-out structure whereby

19   all nondebtor holders of claims or interests under the plan

20   will have the opportunity to demonstrate their consent by

21   electing not to opt out of the third-party releases,

22   especially, in light of the changes that we've agreed to with

23   the U.S. Trustee, the applicable notices clearly inform

24   shareholders in other provisions of the notice that they will

25   be granting the releases unless they submit an opt-out form
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 12 of 31
                                                                      12

 1   or object to the plan.

 2                The plan's approach is consistent with substantial

 3   case law in this and other districts, holding that consent

 4   can be deemed from the failure to opt out of releases, and

 5   it's also consistent with Federal Rule of Civil Procedure 23,

 6   which relies upon an opt-out mechanism to deem consent from

 7   putative class action members in certain circumstances, which

 8   I assume is what Mr. Jam and the Securities class action is

 9   going to seek to utilize to certify a class.

10                THE COURT:   Okay.    I understand.

11                MR. COLAROSSI:     Third, as the debtors will

12   demonstrate at the confirmation hearing, the debtors'

13   shareholders are active and interested in these Chapter 11

14   cases.   The debtors and their professionals have received

15   numerous informal requests and questions throughout the

16   course of these Chapter 11 cases from an active shareholder

17   base.    Various shareholders have filed a number of letters on

18   the docket, which I am sure Your Honor is aware.

19                THE COURT:   I have seen the letters.

20                MR. COLAROSSI:     And the formation of an official

21   equity committee has been requested not once, but twice in

22   these cases.   Moreover, according to Mr. Jam, the

23   shareholders have alleged valuable Securities law claims

24   against the debtors and certain of their current and former

25   Ds and Os.   This, if true, should mean that the shareholders
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 13 of 31
                                                                         13

 1   is are interested and paying attention.

 2                 THE COURT:   Okay.

 3                 MR. COLAROSSI:    Two other points I'd like to note,

 4   Your Honor.    First, Mr. Jam lacks authority to bind putative

 5   class members.    The putative class has not been certified.

 6   Nothing gives Mr. Jam authority to nonconsensually bind

 7   putative class members to opting out of the release,

 8   especially prior to class certification.

 9                 And, second, Mr. Jam lacks standing.          In light of

10   his decision to opt out of the third-party releases, the

11   debtors have revised the plan's definition of released and

12   releasing parties to exclude Mr. Jam and, thus, consistent

13   with case law in this district, he lacks standing to object

14   to the third-party releases.

15                 With that, I'm happy to answer any questions;

16   otherwise, I'll cede the podium.

17                 THE COURT:   No, I think I'd like to hear from the

18   United States Trustee first.

19                 Ms. Casey, good morning.      It's good to see you.

20                 MS. CASEY:   Good morning, Your Honor.         It's good

21   to see you.    For the record, Linda Casey, on behalf of the

22   United States Trustee.

23                 Your Honor, there's a lot and I'm going to try to

24   be somewhat organized, but there is a lot.           I'm going to

25   start with the prematurity issue.        Our office has quite a bit
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 14 of 31
                                                                      14

 1   of objections to the third-party releases and they are

 2   reserved for confirmation.      We raised the objections that we

 3   thought were appropriate for the disclosure statement

 4   hearing.

 5                 There are more than just the fact that the

 6   shareholders and the class of creditors who has claims based

 7   on their equities, so there are two different classes, have

 8   to opt out.    There is the -- first, there's multiple opt-

 9   outs.    They need to opt out in their status as a holder of a

10   claim and then they need to opt out as an equity holder.          I

11   understand that that may only apply to one creditor, but it

12   still is there.

13                 Second, there is a process by which the nominees

14   have to solicit the opt-outs from the beneficial holders and

15   that certainly would not be necessary as a cost and an

16   expense on those parties if this opt-out structure is not

17   appropriate.

18                 And, finally, it does increase the costs to the

19   estate to opt out if it's not appropriate.           So, with do think

20   that it's not premature; there are reasons to have it heard

21   today.

22                 THE COURT:   Okay.

23                 MS. CASEY:   The fact that there are some equity

24   holders who are active and interested in the proceedings does

25   not mean that all equity holders have received actual notice
       Case 23-11120-BLS    Doc 953   Filed 01/29/24    Page 15 of 31
                                                                         15

 1   and understand this, and so I don't think that's there.             So

 2   it comes down to the opt-outs.

 3                But before I go into those, I'd like to raise a

 4   couple of issues that are easier and then we'll get to the

 5   opt-outs.    There is an issue that was raised by the U.S.

 6   Trustee as to who is giving the releases and if the parties

 7   can understand who is giving the releases.             The debtors have

 8   revised the disclosure statement to say that you can't know

 9   who's giving the releases until after the release opt-out

10   deadline is, so at least that is disclosed.              Whether we have

11   a confirmation objection regarding that, we still reserve

12   that for confirmation.

13                THE COURT:    Of course.

14                MS. CASEY:    There's another issue regarding -- and

15   it's resolved with an asterisk -- who has given the releases.

16   So we have requested that there be some way for parties to

17   know have I been released or have I not been released from

18   certain parties.      So we've requested that there be a list of

19   the parties who have opted out filed.             And the debtors have

20   revised the order to say that we will do so, if practicable.

21   There's a whole bunch of issues:         PII; there's equity holders

22   who have somehow opted out of the nominees to being publicly

23   disclosed, et cetera.     And so there's going to be a lot of

24   discussion about how we -- if Your Honor allows this opt-out

25   process --
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 16 of 31
                                                                      16

 1               THE COURT:   I don't think I've seen this request

 2   before.   I think I appreciate the principle that's behind it,

 3   but that would be my initial reaction is, usually,

 4   shareholders sit behind nominee walls, so the name holder,

 5   you know, interfaces with the world for the shareholders, but

 6   it is, I think, an important question and one that I don't

 7   think it's come up in any case have I've had, but, you know,

 8   it would obviously be a complicated issue to determine,

 9   subsequently, who had and who had not given a release if,

10   years later you had to go start digging through, you know,

11   the claims agent for the specific ballots, et cetera, if

12   there were litigation in another forum.

13               So the point would be that the claims agent or the

14   balloting agent would prepare a list that would identify each

15   of the parties that have opted out so that that known

16   universe would be available to the Court and, obviously, to

17   the parties that are expecting or giving releases in order to

18   ensure familiarity.

19               I get the PII concern.       Is this something that

20   could be addressed by a sort of careful sealing structure?

21               MS. CASEY:   It could be and we have -- so, just to

22   step back before I answer that question, this goes towards

23   all classes, including unclassified claims; it's not just the

24   equity holders.   Because everybody is either a releasing

25   party or a released party.
       Case 23-11120-BLS    Doc 953   Filed 01/29/24   Page 17 of 31
                                                                         17

 1              But as to the issue of the sealing, that's what we

 2   discussed previously and that's what we're sort of punting.

 3   There's language in the order that says that they will do it

 4   if practicable and then we're going to talk about what it

 5   means to actually do it.

 6              Hopefully, it's easy as to the creditors in other

 7   classes or the unclassified creditors and that maybe the

 8   difficulty is just as to the equity holders, but we will

 9   discuss that between now and confirmation and come up with,

10   you know, my client is concerned of PII and those issues as

11   well, so we don't want to just be rash and say, Hey, file a

12   list of everybody.

13              THE COURT:      Sure.    No, I appreciate that.

14              MS. CASEY:      So then we get to the issue of the

15   need to opt out.      And here, you know, we have two fully --

16   well, anybody who's fully impaired, who are not receiving any

17   consideration at all.     They're not receiving any payment

18   distribution from the estate.        They're not receiving any

19   benefit of any contribution provided by any of the released

20   parties and many of the released parties have provided no

21   consideration at all whatsoever.         There's no monetary

22   contribution to the plan from most of the released parties.

23              So you have a fully impaired class of creditors

24   who is being required to opt out of a release.              This idea of,

25   Well, wait, Federal Rule of Civil Procedure 23, that's a
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 18 of 31
                                                                      18

 1   class of creditors, who, if they're successful, are going to

 2   share in a pot of money.

 3                This is a fully impaired class who's receiving no

 4   distribution, has not received consideration for the release.

 5   This Court, in Indianapolis Downs specifically noted that the

 6   release structure did not apply to any party that is deemed

 7   to reject.

 8                And our issue here, obviously, the United States

 9   Trustee generally does not like the opt-out procedures and we

10   have argued that many times that the opt out is not actual

11   notice.   And, here, one subclass of the equity holders are

12   previous equity holders who have claims against the officers

13   and directors, but have sold their equity interests --

14                THE COURT:   Sold their stock.

15                MS. CASEY:   -- but may have that claim against the

16   debtors, as well, for the same bad acts that are only

17   entitled to constructive notice because their identity is not

18   known to the debtors and they're going to be giving these

19   releases because they fall within the definition of the

20   creditors.   They have only been getting constructive notice

21   and they didn't actually opt out and they're not getting for

22   that.

23                But even the parties who cabinet actual notice, to

24   require them to opt out of a release where they're not

25   getting consideration is simple not equitable and it's not
       Case 23-11120-BLS   Doc 953    Filed 01/29/24   Page 19 of 31
                                                                       19

 1   consistent with the law.        A contract under non-bankruptcy law

 2   that doesn't have consideration is not enforceable.

 3               Under bankruptcy law, releases are required to

 4   have consideration.    Here, you have no consideration flowing

 5   for these creditors and yet, they have to take some form of

 6   action to say, Hey, I don't like the fact that there's no

 7   consideration flowing to me.        And what you're basically

 8   having is the Bankruptcy Court forcing on parties a release

 9   that doesn't have consideration that would not be enforceable

10   otherwise, other than their having the Bankruptcy Court

11   order.

12               And having them to be required to opt out is just

13   simply inequitable.    Judge Dorsey has addressed this issue

14   and he also came to the conclusion that requiring equity

15   holders to opt out when they're fully impaired or any fully

16   impaired creditor to opt out is just simply not equitable.

17               And then here you have the additional issue of the

18   time period.   Yes, it's the time period that's allowed by the

19   rules for the notice of a confirmation hearing, but then it's

20   further truncated by the notice is going to go to the

21   nominee.   The nominee is going to have to figure out how to

22   notify parties.   The equity holders are going to have to

23   respond.   The nominee is going to have to create the list.

24   The nominee is then going to have to prepare the list and

25   file the list.    So you're truncating that time even further
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 20 of 31
                                                                       20

 1   and you're also putting the burden, not only do we have the

 2   burden of the equity holders getting the notice,

 3   understanding the notice, properly opting out, but then

 4   relying upon their nominee to accurately reflect who it was

 5   that has opted out, all for a class that is receiving no

 6   consideration.

 7              And the debtors may very well come up and say,

 8   Well, these are mutual releases, but there's certainly no

 9   evidence that the mutual releases are themselves

10   consideration because it is unlikely that any of the

11   releasing parties have claims against the equity holders and

12   there certainly is no evidence today and it's unlikely that

13   there could be a factual record that there are claims against

14   these equity holders that somehow the mutuality of the

15   releases is the consideration.

16              And so, you know, it is a different argument that

17   the U.S. Trustee telephonically makes about opt-outs.            It's

18   specifically to fully impaired creditors.           It's the fact that

19   they're not receiving consideration.         It's the fact that the

20   beneficiaries of the releases have not provided any monetary

21   contributions.   And it's inequitable and improper, and not

22   consistent with the law, to have parties provide releases to

23   nondebtors where there has been no consideration provided.

24              THE COURT:    Okay.

25              MS. CASEY:    If Your Honor has any further
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 21 of 31
                                                                          21

 1   questions?

 2                THE COURT:    No, I don't think I do.         Thank you.

 3                Can I hear from the Jam Plaintiffs, Mr. Joyce?

 4                MR. JOYCE:    Good morning, Your Honor.

 5                THE COURT:    Good morning.

 6                MR. JOYCE:    Mike Joyce on behalf of Cyress Jam as

 7   the lead Plaintiff of the Securities class.

 8                Your Honor, with me in court today is Adam Apton,

 9   my co-counsel.   He, if it's okay with the Court, will address

10   our objection and he is admitted pro hac.

11                THE COURT:    Very good.

12                MR. JOYCE:    Thank you, Your Honor.

13                THE COURT:    Counsel?

14                MR. APTON:    Judge, Adam Apton of Levi & Korsinsky.

15   Thank you for allowing me to appear before Your Honor today.

16                I think that the U.S. Trustee's Office did a very

17   good job explaining why these releases are problematic, thank

18   you, but I'm not going to belabor that point.            I want to

19   discuss the disclosure statement issue and what I would

20   submit is the lack of disclosure being sent my clients.              Not

21   just Mr. Jam, but the entire class of Proterra shareholders

22   that he represents in the District Court in the Northern

23   District of California.

24                These are people who invested in Proterra over a

25   period of two years.      They lost everything.        This is real
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 22 of 31
                                                                      22

 1   money, real lives.    I want to make that clear for the Court,

 2   because this isn't -- and there's a lot riding on the

 3   validity of these releases and the notice that my client and

 4   other shareholders will receive about being forced to waive

 5   these claims or release these claims for no consideration.

 6                We have to assume today that these releases are

 7   going to be upheld.    I don't agree that they should be, but

 8   for the purposes of today --

 9                THE COURT:   For purposes of today -- those issues

10   are reserved -- but you're right, I mean, the Court looks at

11   it understanding the proposition, because the disclosure

12   statement objection is predicated upon the idea that the

13   releases become effective.      I get it.

14                MR. APTON:   Precisely.

15                So without proper disclosure, by the time of the

16   confirmation hearing, that train will have already left the

17   station.   So we need to do everything we can to make sure the

18   disclosure is as fulsome and as informative as it possibly

19   can be under the standards.

20                And so I have a future issues with the disclosure

21   statement.   One, debtors' counsel was kind enough to include

22   some commentary from me, my co-counsel, my client about the

23   description of the claims at issue, the Securities class-

24   action claims.   That commentary is buried within the

25   disclosure statement.     It is not being sent to beneficial
       Case 23-11120-BLS   Doc 953   Filed 01/29/24    Page 23 of 31
                                                                        23

 1   owners; i.e., my class members.        It's not contained in the

 2   opt-out ballot.   There's no cover letter accompanying these

 3   ballots to beneficial holders, as there is from the Committee

 4   of Unsecured Creditors going to other class members or other

 5   classes of holders, I suppose.

 6              Frankly, there's no assurance that beneficial

 7   holders will even receive notice or the opt-out ballot by the

 8   February 27th deadline.     As the U.S. Trustee's Office made

 9   clear, there is a process -- it's a complicated process --

10   whereby the nominee, E*TRADE, let's have it, will receive

11   a --

12              THE COURT:     Or DTC or somebody.

13              MR. APTON:     Well, precisely, Your Honor.

14              And so, they, then, have to turn around and make

15   sure that beneficial shareholders receive the notice.             The

16   beneficial shareholders then have to examine the notice and

17   hopefully get it back to E*TRADE in time for E*TRADE to turn

18   around to send it to the debtor, all within a period of,

19   what, 30 days?

20              I routinely, in my practice, deal with

21   administrative processes, notice processes.             You cannot do a

22   claims process in less than 110 days.            That is, by practice,

23   pretty much the minimum amount of time you need as a

24   shareholder representative to get the complete circle.

25              More importantly, the opt-out ballots and the
       Case 23-11120-BLS   Doc 953    Filed 01/29/24   Page 24 of 31
                                                                       24

 1   notices that these beneficial shareholders will receive, it

 2   does not describe what it is they are giving up, the

 3   Securities class-action claims.         These are their only ability

 4   to recover anything under this bankruptcy plan and there's no

 5   description of it.

 6                Yes, there is a reference in the disclosure -- in

 7   the notice that they could obtain additional information by

 8   going to this website or calling this toll-free number.

 9                That's not sufficient.       These people need to be

10   told, at this point in time, that if they do not opt out,

11   they're going to lose their only chance at any recovery from

12   the fraud and gross negligence that occurred by Proterra and

13   its directors and officers between August 2021 and August

14   2023.   That's, provisionally, our class period at this point

15   in time.

16                Your Honor, without in additional information,

17   these shareholders, like I said, will not have a fair shot at

18   protecting these claims.        They'll be left with nothing.

19                THE COURT:   Very good.

20                MR. APTON:   Thank you, Your Honor.

21                THE COURT:   Sure.

22                Does anyone else wish to be heard?

23           (No verbal response)

24                THE COURT:   Okay.     Here's what we're going to do.

25                I'm not prepared to prove an opt-out structure
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 25 of 31
                                                                          25

 1   here and I'll give you my reasons.         First, as Ms. Casey

 2   noted, and as counsel noted, I have opined on this issue and

 3   I have stuck largely with the prospect that an opt-out is, in

 4   fact, an appropriate tool available in connection with plan

 5   confirmation and release provisions, but the circumstances

 6   that are presented before me with pending litigation,

 7   admittedly, not a certified class, but a host of

 8   communications to the Court from shareholders expressing

 9   concerns and the prospect that there is no meaningful -- or,

10   I'm sorry, not meaningful -- there is no distribution

11   expected to these individuals raises a concern about whether

12   or not an opt-out is appropriate.

13              In its most blunt terms, in Indianapolis Downs, I

14   found that stakeholders, I believe it was creditors, were

15   required to opt out of a release structure.            And to boil it

16   down, it was, you need to open your mail and you need to act.

17   I don't think that is a controversial proposition.               I

18   recognizes and fully respect that a number of my colleagues

19   here feel differently about that proposition as a threshold

20   matter.

21              But as Ms. Casey, I think, in particular, noted,

22   these are materially different circumstances than I faced in

23   Indianapolis Downs and in other cases.           And in a situation

24   where there is no anticipated, or there is no provided for

25   distribution to these individuals, I've not been presented
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 26 of 31
                                                                      26

 1   with the argument about whether there's a failure of

 2   consideration, but it resonates.

 3                 But, regardless, to the extent that someone is not

 4   receiving any distribution under a plan, the fact that they

 5   would have to take an affirmative action in order to avoid

 6   giving a release, I think, is a step further than I am

 7   comfortable with.     I would direct that the plan and the

 8   materials be modified so that parties, and particularly

 9   equity securities holders, would be providing, and the folks

10   whose claims follow from their ownership of stock at some

11   time, be afforded the opportunity to opt in to the releases

12   and I expect that the parties will be able to manage that

13   process of revising the forms and the papers.

14                 Again, I don't want to beat a dead horse here.

15   There are, I think, two approaches that we have taken, my

16   colleagues and I, in this court.        I believe that opt out is

17   appropriate, consistent with applicable law and consistent

18   with the way that things are administered in a bankruptcy

19   proceeding.    Failure to act in a thousand different contexts

20   in a bankruptcy proceeding constitutes consent to the relief

21   that's being sought.

22                 In this situation, obviously, we deal with

23   releases.   I don't know if you've noticed, but it's kind of a

24   hot topic right now and we may be advised from the Supreme

25   Court about the appropriateness and the scope of those.
       Case 23-11120-BLS   Doc 953   Filed 01/29/24    Page 27 of 31
                                                                           27

 1   That's an issue that's not in front of me today.

 2                 I have a question of asking shareholders to opt

 3   out of a release in a plan that provides them nothing.            I am

 4   cognizant of the concerns, particularly that counsel

 5   expressed about the mechanics of communicating with the

 6   shareholders and getting them to do that and go through that

 7   exercise.   I make no comment on that.           I have dealt with it

 8   on many occasions.

 9                 As a general proposition, my experience has been

10   that shareholders are able to engage and participate, but I'm

11   certainly aware from my time here and my time is practice

12   that communicating with shareholders of a public company is a

13   complicated and challenging exercise; nevertheless, the case

14   itself needs to move forward.       But in this instance, I'm not

15   prepared to approve and authorize an opt-out structure

16   because I don't think that the facts and circumstances

17   support it.

18                 That is not a change or deviation from the way

19   that I have approached these questions; again, generally, I

20   have held consistent from Indianapolis Downs and later that

21   an opt-out structure is and can be utilized.             I know the

22   United States Trustee has consistently opposed that, and I

23   respect that, and, again, Mr. Harrington may afford -- having

24   gone all Hollywood on us --

25         (Laughter)
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 28 of 31
                                                                      28

 1               THE COURT:   -- Mr. Harrington may ultimately lead

 2   to further for the courts about this particularly fraught

 3   question.   But for purposes of today, I'm satisfied that the

 4   mechanics of the solicitation process should be revised to

 5   require and structure an opt-in for the releases and we will

 6   go from there.

 7               As to the balance of the issues, I have had the

 8   opportunity to review the redlines that were submitted.          I

 9   very much appreciate getting them.         They appear to largely

10   resolve the issues that have been raised.           I'm not going to

11   require further disclosure by, as requested by either the

12   United States Trustee or the objectors.           I think that the

13   opt-in structure is responsive to those concerns and

14   considerations.

15               I'm satisfied with the revisions that have been

16   made and that they're appropriate.         I expect that

17   Mr. Colarossi and I have may have some points that we need to

18   walk through right now, but otherwise, other than that, I'm

19   satisfied that the disclosure statement certainly contains

20   information adequate to permit a hypothetical stakeholder to

21   make an informed decision to vote for or against the plan.

22   But in terms of the mechanics of the release, you have my

23   ruling.

24               Mr. Colarossi?

25               MR. COLAROSSI:      Thank you, Your Honor.
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 29 of 31
                                                                      29

 1              We'll work cooperatively with the other PSA

 2   parties regarding incorporating Your Honor's comments and

 3   decision today.

 4              Just as a point of clarification, with respect to

 5   the change to opt in, to confirm, you want the -- that

 6   applies specifically to "deem to reject" classes and our

 7   current structure works for the other classes?

 8              THE COURT:    Yes.

 9              MR. COLAROSSI:       Thank you.

10              THE COURT:    Okay.     All right.

11              So I will look for a form of order and the

12   attachments that will reflect all of that.

13              If it goes off the rails or if there's some

14   intractable issue, I don't want letters or anything else; I

15   would ask that you get me on the phone.           I'm familiar with

16   the bid and the ask.    I certainly understand the issues, but

17   I mean, I would deal with it by phone, because I would rather

18   keep this process moving if you have issues with respect to

19   the forms that you're going to be wordsmithing, okay?

20              MR. COLAROSSI:       Absolutely.      And we'll get right

21   on it.

22              THE COURT:    All right.      Anything else this

23   morning?

24              MR. COLAROSSI:       No, Your Honor.

25              THE COURT:    All right.      I appreciate everyone's
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 30 of 31
                                                                      30

 1   time.

 2                And with that, we're adjourned.         I'll look for the

 3   order under certification.

 4                Stand in recess.

 5           (Proceedings concluded at 11:39 a.m.)

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
       Case 23-11120-BLS   Doc 953   Filed 01/29/24   Page 31 of 31
                                                                      31

 1                              CERTIFICATION

 2              I certify that the foregoing is a correct

 3   transcript from the electronic sound recording of the

 4   proceedings in the above-entitled matter to the best of my

 5   knowledge and ability.

 6

 7   /s/ William J. Garling                               January 29, 2024

 8   William J. Garling, CET-543

 9   Certified Court Transcriptionist

10   For Reliable

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25
